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                                                                    1    Alex M. Weingarten (SBN 204410)
                                                                           AWeingarten@willkie.com
                                                                    2    Jeffrey K. Logan (SBN 136962)
                                                                           JLogan@willkie.com
                                                                    3    Amy M. Stern (SBM 311382)
                                                                           AStern@willkie.com
                                                                    4    Emily Horak (SBN 340115)
                                                                           EHorak@willkie.com
                                                                    5    WILLKIE FARR & GALLAGHER LLP
                                                                         2029 Century Park East, Suite 2900
                                                                    6    Los Angeles, CA 90067
                                                                         Telephone: (310) 855-3000
                                                                    7    Facsimile: (310) 855-3099
                                                                    8    Attorneys for Plaintiff
                                                                         Tempo Music Investments, LLC
                                                                    9
                                                                    10                      UNITED STATES DISTRICT COURT
                                                                    11                    CENTRAL DISTRICT OF CALIFORNIA
WILLKIE FARR & GALLAGHER LLP




                                                                    12                              WESTERN DIVISION
                               2029 CENTURY PARK EAST, SUITE 2900




                                                                    13                                          2:24-CV-07910
                                                                         TEMPO MUSIC INVESTMENTS, LLC Case No. _______________
                                      LOS ANGELES, CA 90067




                                                                    14                          Plaintiff,        COMPLAINT FOR COPYRIGHT
                                           310.855.3000




                                                                                                                  INFRINGEMENT (17 U.S.C. § 101 et
                                                                    15                    v.                      seq.)
                                                                    16   MILEY CYRUS, an individual;     DEMAND FOR JURY TRIAL
                                                                         GREGORY HEIN, an individual;
                                                                    17   MICHAEL POLLACK, an individual;
                                                                         SONY MUSIC PUBLISHING (US)
                                                                    18   LLC; CONCORD MUSIC
                                                                         PUBLISHING LLC; WARNER-
                                                                    19   TAMERLANE PUBLISHING CORP.;
                                                                         MCEO PUBLISHING; WHAT KEY
                                                                    20   DO YOU WANT IT IN MUSIC;
                                                                         SONGS WITH A PURE TONE;
                                                                    21   SONGS BY GREGORY HEIN;
                                                                         DROOG PUBLISHING; THESE ARE
                                                                    22   PULSE SONGS; WIDE EYED
                                                                         GLOBAL; MCEO, INC.; SONY
                                                                    23   MUSIC ENTERTAINMENT; APPLE
                                                                         INC.; IHEARTMEDIA, INC.;
                                                                    24   PANDORA MEDIA, LLC; DEEZER
                                                                         S.A.; AMAZON.COM SERVICES
                                                                    25   LLC; SOUNDCLOUD GLOBAL
                                                                         LIMITED & CO. KG; TIDAL MUSIC
                                                                    26   LLC; XANDRIE SA; LIVE NATION
                                                                         ENTERTAINMENT, INC.; TARGET
                                                                    27   CORP.; WAL-MART.COM USA, LLC;
                                                                         WALMART INC.; BARNES &
                                                                    28   NOBLE BOOKSELLERS, INC.;
                                                                         DISNEY PLATFORM
                                                                         74544679
                                                                                                                                           COMPLAINT
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                                                                    1    DISTRIBUTION, INC.; and DOES 1-
                                                                         10, inclusive.
                                                                    2
                                                                                                Defendants.
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                                                                                                                                          COMPLAINT
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                                                                    1               Plaintiff Tempo Music Investments, LLC (“Tempo” or “Plaintiff”) alleges
                                                                    2    the following against Defendants Miley Cyrus; Gregory Hein; Michal Pollack;
                                                                    3    Sony Music Publishing (US) LLC; Concord Music Publishing LLC; Warner-
                                                                    4    Tamerlane Publishing Corp.; MCEO Publishing; What Key Do You Want It In
                                                                    5    Music; Songs With A Pure Tone; Songs By Gregory Hein; DROOG Publishing;
                                                                    6    These Are Pulse Songs; Wide Eyed Global; MCEO, Inc.; Sony Music
                                                                    7    Entertainment; Apple Inc.; iHeartMedia, Inc.; Pandora Media, LLC; Deezer S.A.;
                                                                    8    Amazon.com Services LLC; Soundcloud Global Limited & CO. KG; Tidal Music
                                                                    9    LLC; Xandrie SA; Live Nation Entertainment, Inc.; Target Corp.; Wal-Mart.com
                                                                    10   USA LLC; Walmart Inc.; Barnes & Noble Booksellers, Inc.; Disney Platform
                                                                    11   Distribution, Inc.; and Does 1 through 10, inclusive (collectively, “Defendants”):
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                                                                    12                                       INTRODUCTION
                               2029 CENTURY PARK EAST, SUITE 2900




                                                                    13              1.    This action arises out of Defendants’ infringement of the copyright of
                                      LOS ANGELES, CA 90067




                                                                    14   the hit song entitled “When I Was Your Man” that was released by internationally
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                                                                    15   renowned recording artist Bruno Mars in 2013. Mars released the song in January
                                                                    16   2013 as the third promotional single from his second album, Unorthodox Jukebox.
                                                                    17              2.    By April 2013, after more than 16 weeks on the Billboard Hot 100
                                                                    18   charts, “When I Was Your Man” had climbed to No. 1. Mars also received a
                                                                    19   Grammy nomination for Best Pop Solo Performance for the song in December
                                                                    20   2013, and in 2014, the song won the award of “Most Performed Song” at the Pop
                                                                    21   Music Awards hosted by the American Society of Composers, Authors and
                                                                    22   Publishers (ASCAP). In May 2021, “When I was Your Man” was awarded its
                                                                    23   eleventh platinum certification.
                                                                    24              3.    Plaintiff Tempo Music Investments, LLC owns a share of the
                                                                    25   copyright in “When I Was Your Man” through its acquisition of the catalog of
                                                                    26   songwriter Philip Lawrence, a co-author of the song along with Mars and others.
                                                                    27              4.    Mars and the writers behind “When I was Your Man” have achieved
                                                                    28   great success with the song, and now, so have Defendants. In January 2023, Miley

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                                                                    1    Cyrus, another well-known recording artist and a Defendant in this action, released
                                                                    2    the song “Flowers.” Immediately upon the release of “Flowers,” the public
                                                                    3    recognized the striking similarities between the song and “When I Was Your
                                                                    4    Man.” Although Michael Pollack, one of the co-authors of “Flowers,” apparently
                                                                    5    refused to comment on the song’s connection to “When I Was Your Man” in an
                                                                    6    interview with Billboard in March 2023, the article notes that the similarities
                                                                    7    between the two songs have been identified by many, and that “any listener can
                                                                    8    detect that the song boasts a chorus that is the inverse of what Cyrus sings on
                                                                    9    ‘Flowers.’”1
                                                                    10              5.   “Flowers” became an overnight sensation, debuting at No. 1 on the
                                                                    11   Billboard Hot 100 chart and breaking the record to become the fastest song to
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                                                                    12   reach one billion streams on streaming service Spotify. The song also earned
                               2029 CENTURY PARK EAST, SUITE 2900




                                                                    13   Cyrus her first set of Grammy wins for Record of the Year and Best Pop Solo
                                      LOS ANGELES, CA 90067




                                                                    14   Performance at the 66th Annual Grammy Awards in February 2024. Cyrus even
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                                                                    15   performed the song live at the ceremony. Additionally, “Flowers” won Best
                                                                    16   International Song at the Brit Awards 2024.
                                                                    17              6.   Any fan of Bruno Mars’ “When I Was Your Man” knows that Miley
                                                                    18   Cyrus’ “Flowers” did not achieve all of that success on its own. “Flowers”
                                                                    19   duplicates numerous melodic, harmonic, and lyrical elements of “When I Was
                                                                    20   Your Man,” including the melodic pitch design and sequence of the verse, the
                                                                    21   connecting bass-line, certain bars of the chorus, certain theatrical music elements,
                                                                    22   lyric elements, and specific chord progressions.
                                                                    23              7.   It is undeniable based on the combination and number of similarities
                                                                    24   between the two recordings that “Flowers” would not exist without “When I Was
                                                                    25
                                                                         1
                                                                    26     In fact, the week after “Flowers” was released, on-demand streaming for “When I
                                                                         Was Your Man” – “always a productive streamer” in the ten years since its release
                                                                    27   according to Billboard – reportedly rose from 4.5 million to 5.3 million, a 19.5%
                                                                         gain. Billboard credits the “chatter over the relationship between the two songs,”
                                                                    28   including speculation by fans that “Flowers” was inspired by “When I Was Your
                                                                         Man,” with the boost in streaming of the latter.
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                                                                    1    Your Man.” Accordingly, Plaintiff brings this action for copyright infringement
                                                                    2    arising out of Defendants’ unauthorized reproduction, distribution, and exploitation
                                                                    3    of “When I Was Your Man.”
                                                                    4                                 JURISDICTION AND VENUE
                                                                    5               8.    This Court has subject matter jurisdiction over this action pursuant to
                                                                    6    28 U.S.C. § 1338(a) and 28 U.S.C. § 1331 because it arises under the Copyright
                                                                    7    Act (17 U.S.C. § 101 et seq.).
                                                                    8               9.    The Court has personal jurisdiction over Defendants because some or
                                                                    9    all: (1) reside or have their principal place of business in California; and/or (2)
                                                                    10   conduct systematic and continuous business activities within California and this
                                                                    11   judicial district.
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                                                                    12              10.   Venue is proper in this judicial district pursuant to 28 U.S.C. §
                               2029 CENTURY PARK EAST, SUITE 2900




                                                                    13   1391(b)-(d) and 28 U.S.C. §1400(a) because a substantial part of the acts or
                                      LOS ANGELES, CA 90067




                                                                    14   omissions giving rise to the claims set forth herein occurred in this judicial district
                                           310.855.3000




                                                                    15   and/or Defendants reside or have their principal place of business in this judicial
                                                                    16   district.
                                                                    17                                            PARTIES
                                                                    18              11.   Plaintiff Tempo Music Investments, LLC is a limited liability
                                                                    19   company organized under the laws of the State of Delaware, with its principal
                                                                    20   place of business in New York, New York. Plaintiff invests in and owns rights to
                                                                    21   an extensive portfolio of songs and musical compositions by global artists.
                                                                    22   Plaintiff acquired a percentage of the copyright in “When I Was Your Man”
                                                                    23   through a transaction with one of the song’s co-authors, Philip Lawrence. On
                                                                    24   March 6, 2020, Lawrence’s assignment of his rights in “When I Was Your Man” to
                                                                    25   Plaintiff was recorded with the United States Copyright Office under Recordation
                                                                    26   No. V9975D044. Plaintiff is engaged in the commercial exploitation of the
                                                                    27   copyright it acquired from Lawrence in “When I Was Your Man.”
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                                                                                                                                                    COMPLAINT
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                                                                    1               12.   Defendant Miley Cyrus is an individual who, upon information and
                                                                    2    belief, resides in Los Angeles County, California. Cyrus is an accomplished
                                                                    3    singer, songwriter, and actress. Cyrus has received several Grammy nominations
                                                                    4    for her work – and thanks to “Flowers,” two Grammy awards – and has won Teen
                                                                    5    Choice Awards, Billboard Music Words, World Music Awards, MTV Video
                                                                    6    Music Awards, a People’s Choice Award, and a GLAAD Media Award. Cyrus
                                                                    7    performs “Flowers” and is credited as a co-author of the song. Upon information
                                                                    8    and belief, Cyrus participated in, caused, and/or induced the infringing conduct
                                                                    9    alleged herein.
                                                                    10              13.   Defendant Gregory “Aldae” Hein is an individual who, upon
                                                                    11   information and belief, resides in Los Angeles County, California. Hein is a
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                                                                    12   songwriter and music producer who has co-written hit songs for artists including
                               2029 CENTURY PARK EAST, SUITE 2900




                                                                    13   Justin Bieber, Shawn Mendes, and John Legend. Hein is credited as a co-author of
                                      LOS ANGELES, CA 90067




                                                                    14   “Flowers” and has received Grammy nominations for Song of the Year and Album
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                                                                    15   of the Year for his work on “Flowers.” Upon information and belief, Hein
                                                                    16   participated in, caused, and/or induced the infringing conduct alleged herein.
                                                                    17              14.   Defendant Michael Pollack is an individual who, upon information
                                                                    18   and belief, resides in Los Angeles County, California. Pollack is an accomplished
                                                                    19   songwriter and producer whose songs for artists such as Maroon 5 and Justin
                                                                    20   Bieber have topped the Billboard music charts. Pollack is credited as a co-author
                                                                    21   of “Flowers.” Pollack has received seven Grammy nominations, three of which
                                                                    22   are for Pollack’s work on “Flowers.” Upon information and belief, Pollack
                                                                    23   participated in, caused, and/or induced the infringing conduct alleged herein.
                                                                    24              15.   Defendant Sony Music Publishing (US) LLC (“Sony Music
                                                                    25   Publishing”) is a limited liability company organized under the laws of the State of
                                                                    26   Delaware, with its principal place of business in New York, New York. Upon
                                                                    27   information and belief, Sony Music Publishing is a music publisher that
                                                                    28
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                                                                    1    participated in the production, preparation, distribution, performance, licensing,
                                                                    2    marketing, promotion, and/or other exploitation of “Flowers.”
                                                                    3               16.   Defendant Sony Music Entertainment is a general partnership
                                                                    4    organized under the laws of the State of Delaware, with its principal place of
                                                                    5    business in New York, New York. Upon information and belief, Sony Music
                                                                    6    Entertainment participated in the production, preparation, distribution,
                                                                    7    performance, licensing, marketing, promotion, and/or other exploitation of
                                                                    8    “Flowers.”
                                                                    9               17.   Defendant Concord Music Publishing LLC (“Concord”) is a limited
                                                                    10   liability company organized under the laws of the State of Delaware, with an office
                                                                    11   in Los Angeles, California. Upon information and belief, Concord is a music
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                                                                    12   publisher that participated in the production, preparation, distribution,
                               2029 CENTURY PARK EAST, SUITE 2900




                                                                    13   performance, licensing, marketing, promotion, and/or other exploitation of both
                                      LOS ANGELES, CA 90067




                                                                    14   “When I Was Your Man” and “Flowers.”
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                                                                    15              18.   Defendant Warner-Tamerlane Publishing Corp. (“Warner”) is a
                                                                    16   corporation organized under the laws of the State of Delaware, with its principal
                                                                    17   place of business in Los Angeles, California. Upon information and belief, Warner
                                                                    18   is a music publisher that participated in the production, preparation, distribution,
                                                                    19   performance, licensing, marketing, promotion, and/or other exploitation of both
                                                                    20   “When I Was Your Man” and “Flowers.”
                                                                    21              19.   Defendant MCEO, Inc. (“MCEO”) is a corporation organized under
                                                                    22   the laws of the State of Tennessee, with its principal place of business in Nashville,
                                                                    23   Tennessee. Upon information and belief, MCEO is a music publisher that
                                                                    24   participated in the production, preparation, distribution, performance, licensing,
                                                                    25   marketing, promotion, and/or other exploitation of “Flowers.”
                                                                    26              20.   Defendant Apple Inc. (“Apple”) is a corporation organized under the
                                                                    27   laws of the State of California, with its principal place of business in Cupertino,
                                                                    28   California. Apple, through its music streaming service Apple Music, has

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                                                                                                                                                 COMPLAINT
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                                                                    1    participated in the reproduction and distribution of both “When I Was Your Man”
                                                                    2    and “Flowers.”
                                                                    3               21.   Defendant iHeartMedia, Inc. (“iHeartMedia”) is a corporation
                                                                    4    organized under the laws of the State of Delaware, with its principal place of
                                                                    5    business in San Antonio, Texas. iHeartMedia, through its music streaming service
                                                                    6    iHeartRadio, has participated in the reproduction and distribution of both “When I
                                                                    7    Was Your Man” and “Flowers.”
                                                                    8               22.   Defendant Pandora Media, LLC (“Pandora”) is a limited liability
                                                                    9    company organized under the laws of the State of Delaware, with its principal
                                                                    10   place of business in Oakland, California. Pandora, through its music streaming
                                                                    11   service, has participated in the reproduction and distribution of both “When I Was
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                                                                    12   Your Man” and “Flowers.”
                               2029 CENTURY PARK EAST, SUITE 2900




                                                                    13              23.   Defendant Amazon.com Services LLC (“Amazon”) is a corporation
                                      LOS ANGELES, CA 90067




                                                                    14   organized under the laws of the State of Delaware, with its principal place of
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                                                                    15   business in Seattle, Washington. Amazon, through its music streaming service
                                                                    16   Amazon Music, has participated in the reproduction, distribution, and sale of both
                                                                    17   “When I Was Your Man” and “Flowers.”
                                                                    18              24.   Defendant Tidal Music LLC (“Tidal”) is a limited liability company
                                                                    19   organized under the laws of the State of Delaware, with its principal place of
                                                                    20   business in New York, New York. Tidal, through its music streaming service, has
                                                                    21   participated in the reproduction and distribution of both “When I Was Your Man”
                                                                    22   and “Flowers.”
                                                                    23              25.   Defendant Soundcloud Global Limited & Co. KG (“Soundcloud”) is a
                                                                    24   limited liability partnership organized under the laws of Germany, with its
                                                                    25   principal place of business in Berlin, Germany. Soundcloud, through its music
                                                                    26   streaming service, has participated in the reproduction and distribution of both
                                                                    27   “When I Was Your Man” and “Flowers.”
                                                                    28
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                                                                    1               26.   Defendant Deezer S.A. (“Deezer”) is a limited company organized
                                                                    2    under the laws of France, with its principal place of business in Paris, France.
                                                                    3    Deezer, through its music streaming service, has participated in the reproduction
                                                                    4    and distribution of both “When I Was Your Man” and “Flowers.”
                                                                    5               27.   Defendant Xandrie SA (“Xandrie”) is a limited company organized
                                                                    6    under the laws of France, with its principal place of business in Paris, France.
                                                                    7    Xandrie, through its music streaming service Qobuz, has participated in the
                                                                    8    reproduction and distribution of both “When I Was Your Man” and “Flowers.”
                                                                    9               28.   Defendant Disney Platform Distribution, Inc. (“Disney”) is a
                                                                    10   corporation organized under the laws of the State of Delaware, with its principal
                                                                    11   place of business in Burbank, California. Disney has participated in the
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                                                                    12   reproduction, distribution, and/or performance of “Flowers,” including by releasing
                               2029 CENTURY PARK EAST, SUITE 2900




                                                                    13   a documentary concert series featuring Cyrus’ performance of “Flowers” on March
                                      LOS ANGELES, CA 90067




                                                                    14   10, 2023.
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                                                                    15              29.   Defendant Live Nation Entertainment, Inc. (“Live Nation”) is a
                                                                    16   corporation organized under the laws of the State of Delaware, with its principal
                                                                    17   place of business in Beverly Hills, California. Live Nation has participated in the
                                                                    18   reproduction, distribution, sale, and/or other exploitation of “Flowers,” including
                                                                    19   by selling copies of the song through Cyrus’s official online store
                                                                    20   (shop.mileycyrus.com).
                                                                    21              30.   Defendant Target Corp. (“Target”) is a corporation organized under
                                                                    22   the laws of the State of Minnesota, with its principal place of business in
                                                                    23   Minneapolis, Minnesota. Target has hundreds of retail locations in California.
                                                                    24   Target has participated in the reproduction, distribution, sale, and/or other
                                                                    25   exploitation of both “When I Was Your Man” and “Flowers,” including by selling
                                                                    26   copies of the songs in stores and online.
                                                                    27              31.   Defendant Wal-Mart.com USA LLC (“Wal-Mart.com”) is a limited
                                                                    28   liability company organized under the laws of the State of California, with its

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                                                                                                                                                 COMPLAINT
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                                                                    1    principal place of business in San Bruno, California. Wal-Mart.com has
                                                                    2    participated in the reproduction, distribution, sale, and/or other exploitation of both
                                                                    3    “When I Was Your Man” and “Flowers,” including by selling copies of the songs
                                                                    4    online.
                                                                    5               32.   Defendant Walmart Inc. (“Walmart”) is a corporation organized under
                                                                    6    the laws of the State of Delaware, with its principal place of business in
                                                                    7    Bentonville, Arkansas. Walmart has hundreds of retail locations in California.
                                                                    8    Walmart has participated in the reproduction, distribution, sale, and/or other
                                                                    9    exploitation of both “When I Was Your Man” and “Flowers,” including by selling
                                                                    10   copies of the songs in its brick-and-mortar stores.
                                                                    11              33.   Defendant Barnes & Noble Booksellers, Inc. (“Barnes & Noble”) is a
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                                                                    12   corporation organized under the laws of the State of Delaware, with its principal
                               2029 CENTURY PARK EAST, SUITE 2900




                                                                    13   place of business in New York, New York. Barnes & Noble has participated in the
                                      LOS ANGELES, CA 90067




                                                                    14   reproduction, distribution, sale, and/or other exploitation of both “When I Was
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                                                                    15   Your Man” and “Flowers,” including by selling copies of the songs in stores and
                                                                    16   online.
                                                                    17              34.   Defendant MCEO Publishing is a business of unknown form with an
                                                                    18   unknown principal place of business that, upon information and belief, is a music
                                                                    19   publisher that participated in the production, preparation, distribution,
                                                                    20   performance, licensing, marketing, promotion, and/or other exploitation of
                                                                    21   “Flowers.”
                                                                    22              35.   Defendant What Key Do You Want It In Music is a business of
                                                                    23   unknown form with an unknown principal place of business that, upon information
                                                                    24   and belief, is a music publisher that participated in the production, preparation,
                                                                    25   distribution, performance, licensing, marketing, promotion, and/or other
                                                                    26   exploitation of “Flowers.”
                                                                    27              36.   Defendant Songs With A Pure Tone is a business of unknown form
                                                                    28   with an unknown principal place of business that, upon information and belief, is a

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                                                                    1    music publisher that participated in the production, preparation, distribution,
                                                                    2    performance, licensing, marketing, promotion, and/or other exploitation of
                                                                    3    “Flowers.”
                                                                    4               37.   Defendant Songs By Gregory Hein is a business of unknown form
                                                                    5    with an unknown principal place of business that, upon information and belief, is a
                                                                    6    music publisher that participated in the production, preparation, distribution,
                                                                    7    performance, licensing, marketing, promotion, and/or other exploitation of
                                                                    8    “Flowers.”
                                                                    9               38.   Defendant DROOG Publishing is a business of unknown form with an
                                                                    10   unknown principal place of business that, upon information and belief, is a music
                                                                    11   publisher that participated in the production, preparation, distribution,
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                                                                    12   performance, licensing, marketing, promotion, and/or other exploitation of
                               2029 CENTURY PARK EAST, SUITE 2900




                                                                    13   “Flowers.”
                                      LOS ANGELES, CA 90067




                                                                    14              39.   Defendant These Are Pulse Songs is a business of unknown form with
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                                                                    15   an unknown principal place of business that, upon information and belief, is a
                                                                    16   music publisher that participated in the production, preparation, distribution,
                                                                    17   performance, licensing, marketing, promotion, and/or other exploitation of
                                                                    18   “Flowers.”
                                                                    19              40.   Defendant Wide Eyed Global is a business of unknown form with an
                                                                    20   unknown principal place of business that, upon information and belief, is a music
                                                                    21   publisher that participated in the production, preparation, distribution,
                                                                    22   performance, licensing, marketing, promotion, and/or other exploitation of
                                                                    23   “Flowers.”
                                                                    24              41.   The true names and capacities (whether individual, corporate, or
                                                                    25   otherwise) of Defendants named herein as Does 1 through 10, inclusive, are
                                                                    26   presently unknown to Plaintiff. Therefore, Plaintiff sues these Defendants by such
                                                                    27   fictitious names. Plaintiff will seek leave to amend pursuant to Federal Rules of
                                                                    28   Civil Procedure 15(a)(2) and 21 to allege the true names and capacities of Does 1

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                                                                    1    through 10, inclusive, when the same have been ascertained. Additionally,
                                                                    2    Plaintiff is informed and believes, and on that basis alleges, that each of the Doe
                                                                    3    Defendants are legally responsible for the acts and omissions alleged herein.
                                                                    4               42.   Plaintiff is informed and believes, and on that basis alleges, that at all
                                                                    5    relevant times: (a) Defendants and Does 1 through 10 are each the alter ego, co-
                                                                    6    conspirator, duly registered agent, servant, employee, customer, and/or
                                                                    7    representative of each of the other Defendants; and (b) Defendants acted within the
                                                                    8    course, scope, and authority of their profession, employment, agency, and/or
                                                                    9    management roles in committing the acts and omissions alleged herein.
                                                                    10                                  FACTUAL BACKGROUND
                                                                    11   I.         Plaintiff Acquires a Share of the Copyright in “When I Was Your Man”
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                                                                    12              43.   “When I Was Your Man” was written by Bruno Mars, Philip
                               2029 CENTURY PARK EAST, SUITE 2900




                                                                    13   Lawrence, Ari Levine, and Andrew Wyatt. The musical composition of “When I
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                                                                    14   Was Your Man” was registered in the United States Copyright Office in 2013 with
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                                                                    15   Registration Nos. PA0001850617 (dated March 18, 2013 with December 11, 2012
                                                                    16   as the date of publication), PA0001869828 (dated October 24, 20213 with
                                                                    17   December 11, 2012 as the date of publication), PA0001852243 (dated May 13,
                                                                    18   2013 with December 10, 2012 as the date of publication), and PA0001834773
                                                                    19   (dated March 11, 2013 with December 6, 2012 as the date of publication, and
                                                                    20   supplemented by PA0002186926 on October 23, 2018).
                                                                    21              44.   “When I Was Your Man” was a smash hit upon its release on January
                                                                    22   15, 2013, climbing to No. 1 on the Billboard Hot 100 charts and earning co-author
                                                                    23   and performer Bruno Mars a Grammy nomination.
                                                                    24              45.   In or around 2020, Plaintiff acquired the copyright interests in “When
                                                                    25   I Was Your Man” held by Lawrence and his publishing entities.
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                                                                    1    II.        Defendants Have Access to “When I Was Your Man” Prior to Creating
                                                                    2               and Exploiting “Flowers”
                                                                    3               46.   There are countless examples of Defendants having had access to
                                                                    4    “When I Was Your Man” in the ten years between the release of “When I Was
                                                                    5    Your Man” and “Flowers.” For example:
                                                                    6                     a.    Defendants Concord and Warner are credited as music
                                                                    7    publishers for both “When I Was Your Man” and “Flowers;”
                                                                    8                     b.    Mars performed “When I Was Your Man” at the iHeartRadio
                                                                    9    Music Festival in Las Vegas, Nevada on September 21, 2013, where Cyrus also
                                                                    10   appeared and performed her hit song “Wrecking Ball;”
                                                                    11                    c.    “When I Was Your Man” has been widely available for online
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                                                                    12   and in-store purchase, as well on numerous music streaming platforms following
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                                                                    13   its release; and
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                                                                    14                    d.     “When I Was Your Man” has been played frequently by radio
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                                                                    15   stations across the country, which is no surprise given its No. 1 ranking on the
                                                                    16   Billboard Hot 100 and Billboard Radio Songs chart.
                                                                    17   III.       “Flowers” Is Substantially Similar to “When I Was Your Man”
                                                                    18              47.   Cyrus’ song “Flowers” was released on January 13, 2023 –
                                                                    19   approximately ten years after “When I Was Your Man” was released.
                                                                    20              48.   There are substantial similarities between “When I Was Your Man”
                                                                    21   and “Flowers” that demonstrate that “Flowers” is the result of intentional copying.
                                                                    22              A.    Comparison of the Verse of “When I Was Your Man” and the
                                                                    23                    Chorus of “Flowers”
                                                                    24              49.   The melody (single lines of music) and harmony (chords and chord
                                                                    25   progressions) of the chorus in “Flowers” are substantially similar to those of the
                                                                    26   verse in “When I Was Your Man.” Indeed, the opening vocal line from the chorus
                                                                    27   of “Flowers” begins and ends on the same chords as the opening vocal line in the
                                                                    28   verse of “When I Was Your Man.” Additionally, melodic Units 1 and 3 in

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                                                                    1    “Flowers” identified below duplicate the basic melodic and harmonic design of E-
                                                                    2    D-C-E-F at the end of Unit 1 in “When I Was Your Man.”
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                                                                                    50.   Additionally, as shown below, melodic Unit 2 of the chorus of
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                                                                         “Flowers” is significant in that it duplicates the developmental process of the
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                                                                         music in Unit 2 in the verse of “When I Was Your Man.” Each unit begins with a
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                                                                         G major chord and ends the melody on a C major chord. The overall melodic
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                                                                         design in both songs begins after a rest on the downbeat, repeats the pitch D, and
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                                                                         moves to pitch E. In the bracketed portion below, the line repeats the pitch D,
                                                                    15
                                                                         descends through C to the lowest pitch A, then leaps up ending with the pitches D
                                                                    16
                                                                         to E against the C major chord. It is notable that the pitch D (marked with an
                                                                    17
                                                                         asterisk) is a dissonant non-chord tone that resolves upward to the E. This
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                                                                         distinctive melodic element is duplicated in “Flowers” and represents a kind of
                                                                    19
                                                                         musical fingerprint.
                                                                    20
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                                                                    26              51.   As shown above in brackets, both songs also feature a connecting
                                                                    27   bass-line C-B-A that moves to the next melodic unit beginning on the A minor
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                                                                    1    chord, is stated several times through the songs using two different rhythmic
                                                                    2    patterns, and is a featured element.
                                                                    3               B.    Comparison of the Chorus of “When I Was Your Man” and the
                                                                    4                     Chorus of “Flowers”
                                                                    5               52.   As shown below, the first eight bars of each chorus section illustrate
                                                                    6    the significant similarity in the lyrics, melodic, harmonic, and structural musical
                                                                    7    content between the two songs. Both follow the same 4+4 structural phase design
                                                                    8    (labeled Phrase 1 and Phrase 2), with each phrase being subdivided into two 2-bar
                                                                    9    units (as shown in brackets labeled Unit 1, 2, 3, and 4).
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                                                                                    53.   Lyrically the first two-bar units of each 4-bar phrase end with the
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                                                                         same words, “flowers” in Unit 1 and “hours” in Unit 3. Although the words are
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                                                                         not the same at the end of Unit 2, “sand’ in “Flowers” rhymes with “hand” in
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                                                                         “When I Was Your Man.”
                                                                    23
                                                                                    54.   Furthermore, the start of each chorus in “Flowers” duplicates the
                                                                    24
                                                                         dramatic pause in the accompaniment in “When I was Your Man” that precedes the
                                                                    25
                                                                         start of the “flowers” lyric phase.
                                                                    26
                                                                                    55.   Units 2 and 4 above also share the same chord progression of G to C,
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                                                                         and both songs end the first bar of Unit 2 by moving up from the pitch A to pitch E
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                                                                    1    and end with E-D-E pitches. And, Unit 4 of the choruses of both songs ends using
                                                                    2    pitch C. Thus, “Flowers” duplicates the pitch ending pattern used in Units 2 and 4
                                                                    3    in “When I Was Your Man,” as marked with an asterisk above.
                                                                    4               56.   A comparison of the lyrics of the two songs also suggests that the
                                                                    5    musical similarities are no coincidence. As shown below, the lyrics in “Flowers”
                                                                    6    clearly have a meaningful connection to the lyrics in “When I Was Your Man.”
                                                                    7               “When I Was Your Man”                             “Flowers”
                                                                    8     That I should have brought you flowers I can buy myself flowers
                                                                    9     And held your hand                            And I can hold my own hand
                                                                    10    Should have gave you all my hours             Talk to myself for hours
                                                                    11    Take you to every party cause all you         I can take myself dancing
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                                                                    12    wanted to do was dance
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                                                                    13   57.        Along with the word relationship between the “dancing” lyric above, in the
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                                                                    14   below lyric phrases that end with the word “dancing,” “Flowers” contains
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                                                                    15   significant and substantial melodic similarity to the melodic phrase in “When I
                                                                    16   Was Your Man.”
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                                                                                    58.   The “Flowers” unit above represents a kind of “paraphrase” – i.e., it
                                                                    24
                                                                         musically contains and accents the same pitches. Both melodic lines after reaching
                                                                    25
                                                                         and stressing the high point on the pitch A, leap down the interval of a fourth to the
                                                                    26
                                                                         melodic pitch group E-D-C. Both units also end with a melodic slur on the
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                                                                    1    syllable “ing” (a slur refers to the common vocal element in which more than one
                                                                    2    note is sung to a word or syllable).
                                                                    3               C.    The Closing or Post-Chorus Sections of “Flowers”
                                                                    4               59.   The section after the chorus and final section of the recording of
                                                                    5    “Flowers” has the vocal lyric “Can love me better, I” which, as shown below,
                                                                    6    corresponds musically to Units 1 and 2 of the chorus. The first iteration is E-E-E-
                                                                    7    E-E, F and the second is sequenced down a step D-D-D-D-D, E. These melodic
                                                                    8    statements emulate Units 1 and 2; the pitch E moves up to the ‘goal’ F (>) and the
                                                                    9    second statement starting on the pitch D moves up to the ‘goal’ E (>). These
                                                                    10   melodic lines represent developed or varied forms of repetition, and as shown
                                                                    11   above, this melodic design was taken from “When I Was Your Man.”
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                                                                    17              60.   The combination of elements – both musical and lyrical – confirm
                                                                    18   that “Flowers” copies extensively from “When I Was Your Man.”
                                                                    19   IV.        Defendants Willfully and Knowingly Exploit “Flowers” Despite Its
                                                                    20              Infringement of “When I Was Your Man”
                                                                    21              61.   With “Flowers,” Cyrus, Hein, and Pollack have created a derivative
                                                                    22   work of “When I Was Your Man” without authorization.
                                                                    23              62.   Upon information and belief, Defendants comprise the writers,
                                                                    24   composers, performers, producers, record labels, distributors, and publishers who
                                                                    25   willingly and knowingly participated in the production, preparation, distribution,
                                                                    26   public performance, licensing, marketing, promotion, and/or other exploitation of
                                                                    27   “Flowers,” embodied in all forms of media, including, but not limited to, videos,
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                                                                    1    digital downloads, records, motion pictures, and advertisements. Defendants have
                                                                    2    engaged in this conduct for their own pecuniary gain.
                                                                    3               63.   Upon information and belief, Cyrus has performed and continues to
                                                                    4    perform “Flowers” at concerts and personal appearances, in videos, and on
                                                                    5    television, and Defendants have exploited and continue to exploit “Flowers.”
                                                                    6                                      CLAIMS FOR RELIEF
                                                                    7                                  FIRST CLAIM FOR RELIEF
                                                                    8          (COPYRIGHT INFRINGEMENT (17 U.S.C. § 101 et seq.) AGAINST
                                                                    9                                       ALL DEFENDANTS)
                                                                    10              64.   Plaintiff realleges and incorporates by reference Paragraphs 1 through
                                                                    11   63 as if fully alleged herein.
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                                                                    12              65.   “When I Was Your Man” is an original musical composition
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                                                                    13   registered with the U.S. Copyright Office under Registration Nos. PA0001850617,
                                      LOS ANGELES, CA 90067




                                                                    14   PA0001869828, PA0001852243, PA0001834773, and PA0002186926.
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                                                                    15              66.   Plaintiff owns a portion of the U.S. copyright in all rights, titles, and
                                                                    16   interests in the musical composition “When I Was Your Man,” which it acquired
                                                                    17   from one of the song’s co-authors, Philip Lawrence, and his publishing entities.
                                                                    18   The assignment of rights in “When I Was Your Man” to Plaintiff was recorded
                                                                    19   with the U.S. Copyright Office under Recordation No. V9975D044 on March 6,
                                                                    20   2020. Plaintiff is engaged in the commercial exploitation of the copyright it
                                                                    21   acquired from Lawrence in “When I Was Your Man.”
                                                                    22              67.   Upon information and belief, Defendants, had access to, and did
                                                                    23   access, “When I Was Your Man” following its release in January 2013.
                                                                    24              68.   “Flowers” copies a substantial portion of distinct, important, and
                                                                    25   recognizable portions of “When I Was Your Man,” including, but not limited to, its
                                                                    26   melodic and harmonic material, pitch ending pattern, bass-line structure, and
                                                                    27   lyrics.
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                                                                    1               69.   Defendants did not seek or receive permission to copy or interpolate
                                                                    2    any portion of “When I Was Your Man” into “Flowers.”
                                                                    3               70.   Defendants’ unauthorized reproduction, distribution, public
                                                                    4    performance, display, and/or creation of a derivative work of “When I Was Your
                                                                    5    Man” infringes Plaintiff’s exclusive rights in violation of the Copyright Act.
                                                                    6               71.   Defendants have infringed Plaintiff’s copyright in “When I Was Your
                                                                    7    Man” by, among other things: (a) substantially copying and publicly performing,
                                                                    8    or authorizing the copying and public performance, of “Flowers;” (b) authorizing
                                                                    9    the reproduction, distribution, licensing, sale, and/or other exploitation of records
                                                                    10   or digital downloads of “Flowers;” and/or (c) participating in and furthering the
                                                                    11   aforementioned infringing acts and/or sharing in the proceeds therefrom.
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                                                                    12              72.   Upon information and belief, Defendants knew or had reason to know
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                                                                    13   that “Flowers” is an unauthorized derivative work based on “When I Was Your
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                                                                    14   Man.”
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                                                                    15              73.   Upon information and belief, Defendants induced, caused, and
                                                                    16   materially contributed to the production, preparation, distribution, public
                                                                    17   performance, licensing, marketing, promotion, and/or other exploitation of
                                                                    18   “Flowers” and are continuing to do so in order to profit therefrom.
                                                                    19              74.   Upon information and belief, Defendants had the right and ability to
                                                                    20   control one another and have derived a direct financial benefit from their
                                                                    21   infringement.
                                                                    22              75.   Defendants’ conduct has been, and continues to be, willful and
                                                                    23   knowing.
                                                                    24              76.   As a direct and proximate result of Defendants’ conduct, Plaintiff has
                                                                    25   suffered actual damages, including, but not limited to, lost profits.
                                                                    26              77.   Plaintiff has been irreparably harmed and suffered actual damages,
                                                                    27   and Defendants have profited in an amount to be determined at trial. Plaintiff’s
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                                                                    1    actual damages include lost license fees and decreased value for “When I Was
                                                                    2    Your Man.”
                                                                    3               78.   Pursuant to 17 U.S.C. § 504(b)(c), Plaintiff is entitled, at its election,
                                                                    4    to an award of: (a) actual damages, including its own damages and the substantial
                                                                    5    profits of Defendants to be proven at trial; or (b) statutory damages in the
                                                                    6    maximum amount of $150,000 per infringement.
                                                                    7               79.   Plaintiff is entitled to declaratory and injunctive relief (17 U.S.C. §
                                                                    8    502).
                                                                    9               80.   Plaintiff is also entitled to its costs, including reasonable attorneys’
                                                                    10   fees pursuant to 17 U.S.C. § 505.
                                                                    11                                    PRAYER FOR RELIEF
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                                                                    12              WHEREFORE, Plaintiff prays for judgment in its favor and against
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                                                                    13   Defendants as follows:
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                                                                    14              1.    For judgment that Defendants willfully infringed Plaintiff’s copyright;
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                                                                    15              2.    For judgment entering a permanent injunction enjoining and
                                                                    16   restraining Defendants from infringing Plaintiff’s copyright by reproducing,
                                                                    17   distributing, or publicly performing “Flowers;”
                                                                    18              3.    For judgment assessing Defendants the damages suffered by Plaintiff,
                                                                    19   including, but not limited to, actual damages, lost profits, and statutory damages;
                                                                    20              4.    For judgment granting Plaintiff’s costs, reasonable attorneys’ fees,
                                                                    21   and interest at the maximum rate permitted by law; and
                                                                    22              5.    Such other relief as may be just and proper.
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                                                                    1    Dated: September 16, 2024         WILLKIE FARR & GALLAGHER LLP
                                                                    2
                                                                    3                                      By:     /s/ Alex M. Weingarten
                                                                                                                   Alex M. Weingarten
                                                                    4                                              Jeffrey K. Logan
                                                                                                                   Amy M. Stern
                                                                    5                                              Emily Horak
                                                                    6                                      Attorneys for Plaintiff
                                                                                                           Tempo Music Investments, LLC
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                                                                    1                                  REQUEST FOR JURY TRIAL
                                                                    2               Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff requests a trial
                                                                    3    by jury of all issues triable of right by a jury.
                                                                    4    Dated: September 16, 2024                  WILLKIE FARR & GALLAGHER LLP
                                                                    5
                                                                    6                                              By:       /s/ Alex M. Weingarten
                                                                                                                             Alex M. Weingarten
                                                                    7                                                        Jeffrey K. Logan
                                                                                                                             Amy M. Stern
                                                                    8                                                        Emily Horak
                                                                    9                                              Attorneys for Plaintiff
                                                                                                                   Tempo Music Investments, LLC
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